             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 1 of 55




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

  JARROD JOHNSON, et al.,

                   Plaintiffs,

             v.                              Civil Action No.: 4:20-cv-00008-AT

  3M COMPANY, et al.,

                   Defendants.



                       DAIKIN AMERICA, INC.’S ANSWER TO
                         FOURTH AMENDED COMPLAINT

        Daikin America, Inc. (“DAI”) files this Answer to Plaintiffs’ Fourth Amended

Complaint (“Complaint”). DAI denies each allegation in the Complaint except those

expressly admitted below. This Answer is based upon DAI’s investigation to date,

and DAI reserves the right to amend this Answer if and when new information is

learned.

                                 STATEMENT OF THE CASE

        1.        This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI

and denies that Plaintiffs are entitled to any relief from DAI. DAI lacks knowledge


                                            1
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 2 of 55




or information sufficient to form a belief about the truth of the allegations in this

paragraph directed towards others and therefore denies those allegations.


        2.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        3.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of

any allegations in this paragraph directed towards others and therefore denies those

allegations.


        4.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.




                                           2
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 3 of 55




        5.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        6.       This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


                            JURISDICTION AND VENUE


        7.       This paragraph sets forth legal conclusions that do not require a

response. To the extent a response is required, DAI lacks knowledge or information

sufficient to form a belief about the truth of the allegations in this paragraph and

therefore denies those allegations.


        8.       This paragraph sets forth legal conclusions that do not require a

response. This paragraph also does not appear to apply to DAI. To the extent this

paragraph or the exhibits referenced therein contain allegations against DAI, they
                                           3
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 4 of 55




are denied. DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph directed towards others and therefore

denies those allegations.


        9.       This paragraph sets forth legal conclusions that do not require a

response. This paragraph also does not appear to apply to DAI. To the extent this

paragraph contains allegations against DAI, they are denied. DAI lacks knowledge

or information sufficient to form a belief about the truth of the allegations in this

paragraph directed towards others and therefore denies those allegations.


        10.      This paragraph sets forth legal conclusions that do not require a

response. This paragraph also does not appear to apply to DAI. To the extent this

paragraph contains allegations against DAI, they are denied. DAI lacks knowledge

or information sufficient to form a belief about the truth of the allegations in this

paragraph directed towards others and therefore denies those allegations.


        11.      This paragraph does not require a response.


        12.      This paragraph sets forth legal conclusions that do not require a

response. To the extent this paragraph contains allegations against DAI, they are

denied. DAI lacks knowledge or information sufficient to form a belief about the



                                             4
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 5 of 55




truth of the allegations in this paragraph directed towards others and therefore denies

those allegations.


        13.      This paragraph sets forth legal conclusions that do not require a

response. To the extent this paragraph contains allegations against DAI, they are

denied. DAI lacks knowledge or information sufficient to form a belief about the

truth of the allegations in this paragraph directed towards others and therefore denies

those allegations.


        14.      This paragraph sets forth legal conclusions that do not require a

response. To the extent this paragraph contains allegations against DAI, they are

denied. DAI lacks knowledge or information sufficient to form a belief about the

truth of the allegations in this paragraph directed towards others and therefore denies

those allegations.


                                       PARTIES


        15.      This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.
                                           5
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 6 of 55




        16.      This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        17.      This paragraph sets forth a legal conclusion that does not require a

response.


        18.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        19.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        20.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        21.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        22.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.

                                            6
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 7 of 55




        23.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        24.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        25.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph directed towards others and therefore

denies those allegations. DAI admits only that DAI is a Delaware corporation that

has conducted business in this District and has sold products to Shaw Industries.

DAI otherwise denies the allegations of this paragraph.


        26.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        27.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        28.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        29.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.

                                            7
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 8 of 55




        30.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        31.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        32.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        33.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        34.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        35.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        36.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        37.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


                                            8
12784196.1
             Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 9 of 55




        38.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        39.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        40.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        41.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        42.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        43.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        44.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        45.      DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


                                            9
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 10 of 55




        46.    DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        47.    DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        48.    DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        49.    DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


                            FACTUAL ALLEGATIONS


        50.    This paragraph does not appear to contain allegations against DAI. To

the extent any allegations in this paragraph are directed to DAI, DAI admits only

that it supplied certain products to non-DAI manufacturing facilities in or near the

Dalton, Georgia area. DAI denies any other allegations in this paragraph to the

extent directed at DAI. DAI lacks knowledge or information sufficient to form a

belief about the remaining allegations in this paragraph and therefore denies those

allegations.




                                          10
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 11 of 55




        51.   DAI admits that PFAS are man-made substances and that science has

shown certain PFAS such as PFOA and PFOS are persistent in the environment.

DAI further admits that certain PFAS have a wide variety of useful industrial,

commercial, and consumer applications. DAI denies the remaining allegations of

this paragraph as phrased. This paragraph does not appear to contain allegations

against DAI. DAI denies any allegations in this paragraph to the extent any are

directed at DAI.


        52.   DAI admits that science has shown PFOA and PFOS are persistent in

the environment. DAI denies the remaining allegations of this paragraph as phrased.

This paragraph does not appear to contain allegations against DAI. DAI denies any

allegations in this paragraph to the extent any are directed at DAI.


        53.   DAI admits that science has shown PFOA and PFOS are persistent in

the environment. DAI denies the remaining allegations of this paragraph as phrased.

This paragraph does not appear to contain allegations against DAI. DAI denies any

allegations in this paragraph to the extent any are directed at DAI.


        54.   Denied.


        55.   DAI admits that the C8 Science Panel issued certain findings, but DAI

disputes those findings and denies that this paragraph accurately or completely states
                                          11
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 12 of 55




the C8 Science Panel’s findings. DAI denies the remaining allegations of this

paragraph.


        56.   DAI admits that the C8 Science Panel issued certain findings, but DAI

disputes those findings and denies that this paragraph accurately or completely states

the C8 Science Panel’s findings. DAI denies the remaining allegations of this

paragraph.


        57.   DAI denies the allegations in this paragraph as phrased.


        58.   Denied as phrased.


        59.   DAI admits that, in 2016, EPA issued a “Drinking Water Health

Advisory” of 70 parts per trillion for combined concentration of PFOA and PFOS.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations in this paragraph and therefore denies those allegations.


        60.   DAI admits that EPA cited studies when it issued the 2016 Drinking

Water Health Advisory. DAI disputes any findings referenced in this paragraph and

further denies this paragraph accurately or completely reflects the findings of any

such studies. DAI denies the remaining allegations of this paragraph.




                                         12
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 13 of 55




        61.   DAI admits EPA issued a Drinking Water Advisory in 2016 and made

certain statements in support thereof. DAI denies this paragraph accurately or

completely reflects the statements in the referenced documents and denies the

remaining allegations in this paragraph.


        62.   DAI admits ATSDR issued the referenced report but denies this

paragraph accurately or completely reflects the statements in the related document.

DAI denies the remaining allegations in this paragraph.


        63.   DAI admits ATSDR issued the referenced report but denies this

paragraph accurately or completely reflects the statements in the related document.

DAI denies the remaining allegations in this paragraph.


        64.   DAI admits only that certain states have recommended or adopted

regulatory levels for PFOA and/or PFOS in drinking water lower than the 2016 EPA

Drinking Water Health Advisory. DAI lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations in this paragraph and

therefore denies those allegations.


        65.   This paragraph does not appear to require a response from DAI and

instead purports to state a conclusion of law. DAI denies any allegations in this

paragraph to the extent any are directed at DAI.
                                           13
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 14 of 55




        66.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        67.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        68.    This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        69.    This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.

                                         14
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 15 of 55




        70.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        71.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        72.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        73.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        74.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the
                                         15
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 16 of 55




allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        75.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        76.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        77.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        78.   This paragraph does not appear to contain allegations against DAI.

DAI admits only that it has known that certain perfluoroalkyl substances are

persistent but otherwise denies any allegations in this paragraph directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the
                                         16
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 17 of 55




allegations in this paragraph directed towards others and therefore denies those

allegations.


        79.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        80.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        81.    DAI admits that EPA issued a Significant New Use Rule in 2002

relating to the manufacture of PFOS and PFOS-related precursors (which DAI never

manufactured or used) and that the rule, as stated in the Federal Register, speaks for

itself. This paragraph otherwise does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the




                                         17
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 18 of 55




allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        82.    This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        83.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        84.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        85.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.
                                         18
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 19 of 55




DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        86.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        87.    This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        88.    This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.




                                         19
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 20 of 55




        89.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        90.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        91.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        92.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        93.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the
                                         20
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 21 of 55




allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        94.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        95.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        96.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        97.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.
                                         21
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 22 of 55




        98.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        99.   This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        100. This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        101. This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        102. Denied.



                                         22
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 23 of 55




        103. This paragraph does not appear to contain allegations against DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations. DAI denies any allegations directed at DAI.


        104. DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        105. DAI lacks knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph and therefore denies those allegations.


        106. Denied.


                                   COUNT ONE

DISCHARGE OF POLLUTANTS TO SURFACE WATERS WITHOUT AN
   NPDES PERMIT IN VIOLATION OF THE CLEAN WATER ACT
                  (Defendant Dalton Utilities)
        107. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states that Count One is not alleged

against DAI.




                                          23
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 24 of 55




        108. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        109. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        110. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        111. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        112. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




                                        24
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 25 of 55




        113. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        114. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        115. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        116. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        117. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




                                        25
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 26 of 55




        118. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        119. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        120. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        121. Count One is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                                  COUNT TWO
      DISCHARGES OF NON-STORMWATER CONTAINING PFAS IN
       VIOLATION OF NPDES GENERAL STORMWATER PERMIT
        123. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states that Count Two is not alleged

against DAI.


                                         26
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 27 of 55




        124. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        125. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        126. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        127. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        128. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




                                        27
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 28 of 55




        129. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        130. Count Two is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                                 COUNT THREE
INDUSTRIAL USER PASS THROUGH DISCHARGES OF POLLUTANTS
 IN VIOLATION OF FEDERAL PROHIBITIONS, DALTON UTILITIES’
        SEWER USE RULES AND REGULATIONS, AND THE
                        CLEAN WATER ACT
      (Defendant Dalton/Whitfield Regional Solid Waste Authority)
        131. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states that Count Two is not alleged

against DAI.


        132. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




                                         28
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 29 of 55




        133. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        134. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        135. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        136. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        137. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




                                         29
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 30 of 55




        138. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        139. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        140. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        141. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        142. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.




                                         30
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 31 of 55




        143. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        144. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        145. Count Three is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                             CLASS ALLEGATIONS
        146. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein.


        147. The first sentence of this paragraph does not require a response. DAI

denies the remainder of this paragraph.


        148. Denied.


        149. This paragraph sets forth legal conclusions that do not require a

response from DAI, although DAI denies that class treatment is appropriate.

                                          31
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 32 of 55




        150. This paragraph sets forth legal conclusions that do not require a

response from DAI, although DAI denies that class treatment is appropriate.


        151. This paragraph sets forth legal conclusions that do not require a

response from DAI, although DAI denies that class treatment is appropriate.


        152. Denied.


        153. Denied.


        154. Denied.


        155. Denied.


        156. Denied.


        157. Denied, including all subparts.


        158. Denied.


        159. Denied.


        160. Denied.


        161. Denied.


        162. Denied.
                                         32
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 33 of 55




                                  COUNT FOUR

      WILLFUL, WANTON, RECKLESS, OR NEGLIGENT CONDUCT
     (All Defendants Except Dalton Utilities, Invista, 3M, Daikin, DuPont &
                                 Chemours)
        163. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states the Court dismissed this

Count as to DAI in its September 20, 2021 Order.


        164. Count Four is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        165. Count Four is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        166. Count Four is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        167. Count Four is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.

                                         33
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 34 of 55




        168. Count Four is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                                  COUNT FIVE

                          NEGLIGENCE PER SE
  (All Defendants Except Dalton Utilities, 3M, DuPont, Chemours, Invista &
                                  Daikin)
        169. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further states the Court dismissed this

Count as to DAI in its September 20, 2021 Order.


        170. Count Five is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        171. Count Five is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        172. Count Five is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.

                                         34
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 35 of 55




        173. Count Five is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


        174. Count Five is not alleged against DAI; therefore, this paragraph does

not require a response. DAI denies any allegations to the extent they could be

construed against DAI.


                                   COUNT SIX
                             PUNITIVE DAMAGES
                     (All Defendants Except Dalton Utilities)
        175. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein. DAI further denies that Georgia law allows for

a stand-alone claim for “Punitive Damages.”


        176. Denied.


        177. Denied.


        178. Denied.


        179. Denied.


        180. Denied.


                                         35
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 36 of 55




        181. Denied.


        182. Denied.


        183. Denied and further denied that Plaintiffs are entitled to any relief from

DAI whatsoever.


                                  COUNT SEVEN
                                PUBLIC NUISANCE
        184. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein.


        185. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        186. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the




                                          36
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 37 of 55




allegations in this paragraph directed towards others and therefore denies those

allegations.


        187. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        188. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        189. Denied.


        190. Denied.


        191. Denied.


        192. Denied.



                                         37
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 38 of 55




        193. Denied.


                                 COUNT EIGHT
CLAIMS FOR ABATEMENT AND INJUNCTION OF PUBLIC NUISANCE
        194. DAI incorporates by reference its responses to the prior paragraphs of

the Complaint as if re-stated herein.


        195. Denied.


        196. This paragraph does not appear to contain allegations against DAI.

DAI denies any allegations in this paragraph to the extent any are directed at DAI.

DAI lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph directed towards others and therefore denies those

allegations.


        197. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.


        198. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.


        199. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.


                                         38
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 39 of 55




        200. Denied and further denied that Plaintiffs are entitled to any relief

whatsoever from DAI.


        In response to the unnumbered paragraph beginning “WHEREFORE…”, DAI

denies Plaintiffs are entitled to any relief from DAI.


        WHEREFORE, DAI requests that the claims against DAI be dismissed with

prejudice, and costs and fees be taxed against Plaintiffs.


        DAI denies any and all material allegations in the Complaint that require

a response from DAI and have not been expressly admitted herein.


                                    DEFENSES
        DAI asserts the following defenses:

                                  FIRST DEFENSE
        DAI denies the material allegations of the Complaint and demands strict proof

thereof.

                                SECOND DEFENSE

        The Complaint fails to state a claim upon which relief can be granted against

DAI.




                                          39
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 40 of 55




                                   THIRD DEFENSE

        DAI asserts that it is not guilty of the matters and things alleged in the

Complaint.

                                 FOURTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

limitations, statutes of repose (including but not limited to O.C.G.A. § 51-1-11),

rules of repose, res judicata, collateral estoppel, accord and satisfaction, consent,

license, permit, acquiescence, release, laches, waiver, unclean hands, and/or

estoppel.

                                   FIFTH DEFENSE

        Plaintiffs’ claims are barred in whole or in part because DAI’s conduct was in

accordance with the applicable standards of care under all laws, regulations, industry

practice, and state-of-the-art knowledge, and the activities of DAI in accordance

with such standards were reasonable as a matter of law. DAI at all times acted

reasonably, in good faith, and with the skill, prudence, and diligence of others in the

industry at the time.

                                   SIXTH DEFENSE

        DAI asserts that Plaintiffs’ alleged damages are the result of one or more

independent, superseding, and/or intervening causes.


                                           40
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 41 of 55




                                SEVENTH DEFENSE

        DAI asserts that there is no causal relationship between its alleged actions or

conduct and plaintiffs’ alleged damages. Plaintiffs’ damages, if any, were caused

solely by the actions, omissions, or conduct of persons and/or entities for whom or

which DAI is not responsible and/or were caused by acts, omissions, conduct, and/or

factors beyond the control of DAI.

                                 EIGHTH DEFENSE

        DAI asserts that Plaintiffs’ claim for punitive damages is violative of

provisions of the United States Constitution and the Georgia Constitution. Plaintiffs’

claim for punitive damages is subject to the limitations cap, and the substantive and

legal protections, contained in O.C.G.A. § 51-12-1, et seq.

                                  NINTH DEFENSE

        Plaintiffs’ claims are preempted, in whole or in part, by the applicable federal

statutes and regulations pursuant to the Supremacy Clause of the United States

Constitution.

                                  TENTH DEFENSE

        An award of punitive damages in this case would violate the Fourth, Fifth,

Sixth, Eighth, and/or Fourteenth Amendments to the Constitution of the United




                                           41
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 42 of 55




States as well as provisions of the Georgia Constitution, on the following separate

and several grounds:

               (a)   that civil procedures pursuant to which punitive damages are

awarded may result wrongfully in a punishment by a punitive damages award after

the fact;

               (b)   that civil procedures pursuant to which punitive damages are

awarded may result in the award of joint and several judgments against multiple

defendants for different alleged acts of wrongdoing;

               (c)   that civil procedures pursuant to which punitive damages are

awarded fail to provide means for awarding separate judgments against alleged joint

tortfeasors;

               (d)   that civil procedures pursuant to which punitive damages are

awarded fail to provide a limit on the amount of the award against the defendants;

               (e)   that civil procedures pursuant to which punitive damages are

awarded fail to provide specific standards for the amount of the award of punitive

damages;

               (f)   that civil procedures pursuant to which punitive damages are

awarded fail to provide specific standards for the award of punitive damages;




                                         42
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 43 of 55




              (g)   that civil procedures pursuant to which punitive damages are

awarded permit the award of punitive damages upon satisfaction of a standard of

proof less than that applicable to the imposition of criminal sanctions;

              (h)   that civil procedures pursuant to which punitive damages are

awarded permit multiple awards of punitive damages for the same alleged act;

              (i)   that civil procedures pursuant to which punitive damages are

awarded fail to provide a clear, consistent appellate standard of review of an award

of punitive damages;

              (j)   that civil procedures pursuant to which punitive damages are

awarded permit the admission of evidence relative to the punitive damages in the

same proceeding during which liability and compensatory damages are determined;

              (k)   that standards of conduct upon which punitive damages are

awarded are vague;

              (l)   that civil procedures pursuant to which punitive damages are

awarded permit the imposition of excessive fines;

              (m)   that civil procedures pursuant to which punitive damages are

awarded permit the award of punitive damages upon satisfaction of a standard of

proof which is not heightened in relation to the standard of proof for ordinary civil

cases;


                                          43
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 44 of 55




              (n)    that civil procedures pursuant to which punitive damages are

awarded permit the imposition of arbitrary, capricious or oppressive penalties;

              (o)    that civil procedures pursuant to which punitive damages are

awarded fail to limit the discretion of the jury in the award of punitive damages.

                                ELEVENTH DEFENSE

        Plaintiffs have failed to mitigate their damages, if any.

                                TWELFTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the prior nuisance

doctrine.

                              THIRTEENTH DEFENSE

        Each plaintiff’s recovery, if any, should be barred or reduced in proportion to

each plaintiff’s own culpable conduct, including each plaintiff’s own negligence,

assumption of the risk, acquiescence, or misuse.

                              FOURTEENTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by their own contributory

negligence.




                                           44
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 45 of 55




                               FIFTEENTH DEFENSE
        Plaintiffs’ claims are barred due to the failure to join indispensable parties

(under Fed. R. Civ. P. 19) and real-parties-in-interest (under Fed. R. Civ. P. 17),

including but not limited to the City of Rome, Georgia.

                              SIXTEENTH DEFENSE

        Plaintiffs’ claimed damages are speculative, remote, and not reasonably

foreseeable.

                            SEVENTEENTH DEFENSE

        DAI denies that its conduct was in any manner negligent or wanton.

                             EIGHTEENTH DEFENSE

        DAI denies that it or any of its agents or employees breached any duty or

obligation allegedly owed to Plaintiffs.

                             NINETEENTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of

comparative fault, and to the extent that any other Defendant has settled or may in

the future settle with Plaintiffs, DAI asserts its entitlement to an appropriate credit,

setoff, or reduction of any judgment against it.




                                           45
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 46 of 55




                               TWENTIETH DEFENSE

        Plaintiffs’ claim for attorney’s fees fails because there is no contractual,

statutory, or other basis for an award of attorney’s fees in this lawsuit against DAI.

DAI further did not act in a manner that gives rise to a claim for attorneys’ fees or

expenses in this lawsuit.

                             TWENTY-FIRST DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of

prescription.

                            TWENTY-SECOND DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by lack of standing.

                             TWENTY-THIRD DEFENSE

        Plaintiffs have suffered no legally compensable present injury.

                            TWENTY-FOURTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the Public Services

Doctrine.

                             TWENTY-FIFTH DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrines of consent

and/or release.




                                            46
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 47 of 55




                              TWENTY-SIXTH DEFENSE

        Plaintiffs’ claims fail as improper collateral attacks on properly issued

permits.

                          TWENTY-SEVENTH DEFENSE

        Plaintiffs’ claims are barred in whole or in part because the harm is divisible

and attributable to others.

                              TWENTY-EIGHTH DEFENSE

        Plaintiffs should be required to provide a more definite statement of their

allegations as to each defendant. As currently pled, plaintiffs’ Complaint violates

the group pleading doctrine.

                              TWENTY-NINTH DEFENSE

        Plaintiffs have not suffered a concrete and particularized injury.

                                THIRTIETH DEFENSE

        DAI materially complied with all applicable federal, state, and local

permitting requirements, regulations, standards, and guidelines.

                               THIRTY-FIRST DEFENSE

        Any alleged injury or harm was not foreseeable.




                                           47
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 48 of 55




                           THIRTY-SECOND DEFENSE

        The requested injunctive relief would subject DAI to a grossly

disproportionate hardship. The requested injunctive relief would result in unlawful

interference with transportation and commerce in the waters of the U.S. Plaintiffs

are not entitled to any injunctive or equitable relief against DAI as Plaintiffs have an

adequate remedy at law.

                            THIRTY-THIRD DEFENSE

        Plaintiff’s claims are barred by the Economic Loss Doctrine.

                           THIRTY-FOURTH DEFENSE

        DAI did not owe or breach any duty to Plaintiffs.

                             THIRTY-FIFTH DEFENSE

        The proximate cause of any injury to Plaintiffs was an event or incident which

was not legally foreseeable by DAI, and therefore DAI has no legal liability for any

of Plaintiffs’ alleged damages.

                             THIRTY-SIXTH DEFENSE

        Plaintiffs’ nuisance claims fail against DAI because DAI did not have any

control over any of the conduct or cause of harm for which Plaintiffs claims to be a

nuisance.




                                          48
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 49 of 55




                           THIRTY-SEVENTH DEFENSE

        Plaintiffs’ claims are barred by the bulk supplier and sophisticated user

doctrines.

                            THIRTY-EIGHTH DEFENSE

        Plaintiffs’ claims are barred in whole or in part to the extent they seek to

impose liability based on retroactive application of laws, regulations, standards, or

guidelines.

                             THIRTY-NINTH DEFENSE

        Any recovery by Plaintiffs may be barred or reduced by the negligence, fault,

or carelessness of others for whose conduct DAI is not responsible. Any judgment

rendered against DAI in this action, under all theories of liability plead, must be

limited to the fault, if any, attributable to DAI. DAI is entitled to apportion its fault,

if any, to the fault of any and all other persons or entities who are or could be

responsible for any of Plaintiffs’ injuries or damages, regardless of whether such

persons or entities are or could have been parties to this action, and regardless of

whether Plaintiff was negligent. See, e.g., Ga. Code Ann. § 51-12-33.

        The entities who contributed to Plaintiffs’ alleged injuries and damages

include (but are not limited to) the City of Rome and Floyd County. Through their

“unified” Fire Department, and otherwise, the City of Rome and Floyd County have


                                           49
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 50 of 55




used copious amounts of aqueous film-forming foam (AFFF)—which contains the

PFAS Plaintiffs complain of, including PFOA and PFOS—since at least 1990. The

Fire Department, for example, would use AFFF (including in and around the Rome

Airport) and then “divert” the AFFF to open fields or other nearby land, where the

AFFF would soak into the soil and groundwater, contributing to Plaintiffs’ alleged

injuries and damages. The Fire Department also may have been unable to divert the

AFFF and sometimes did not clean up the AFFF at all, causing it to enter the nearby

soil, groundwater, and other water and rivers. The Fire Department did all this

despite those in charge knowing that AFFF should not enter the waterway and that

AFFF contained what Plaintiffs have alleged to be cancer-causing PFOA and PFOS.

The City of Rome and Floyd County still use AFFF, including fluorinated AFFF,

today.

         The entities who, under Plaintiffs’ theory, contributed to Plaintiffs’ alleged

injuries and damages also include the manufacturers of the AFFF used by the City

of Rome and Floyd County.

                                FORTIETH DEFENSE

         DAI may be entitled to a set-off in the event Plaintiffs received or receive

payment from any source relating to the facts and circumstances at issue in this

lawsuit.


                                           50
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 51 of 55




                              FORTY-FIRST DEFENSE

        DAI did not have any duty to warn. Any such duty, if it existed, was either

not necessary or was satisfied, discharged, or unnecessary due to the knowledge of

risk by others, including Plaintiffs. The lack of or alleged inadequacy of any

warnings were also not a proximate cause of any of Plaintiffs’ injuries.

                             FORTY-SECOND DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, because they have come to

the alleged nuisance.

                              FORTY-THIRD DEFENSE

        DAI denies that the requirements of Rule 23 for a litigation class have been

met and demands strict proof thereof.

                             FORTY-FOURTH DEFENSE

        Plaintiffs’ public nuisance claim fails because Plaintiffs did not suffer or incur

any special damage or special harm. Plaintiffs have not suffered or incurred any

damage or harm different from those exercising the right common to the general

public that is the subject of the alleged interference.




                                            51
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 52 of 55




                               FORTY-FIFTH DEFENSE

        Plaintiffs nuisance claim fails against DAI because DAI did not create, cause,

continue, or maintain the alleged nuisance or otherwise have control over the cause

of alleged harm.

                               FORTY-SIXTH DEFENSE

        The Court should abstain from considering Plaintiffs’ claims because of a

parallel action in state court, The City of Rome, Georgia v. 3M Company, et al., in

the Superior Court of Floyd County, Georgia, 19-CV-02405-3.

                           FORTY-SEVENTH DEFENSE

        DAI hereby adopts and incorporates the affirmative defenses set forth by its

co-defendants in this case.

                   RIGHT TO ASSERT ADDITIONAL DEFENSES

        DAI reserves the right to assert additional defenses based upon information

learned during the course of this litigation and/or through discovery in this action.



                              [Signature on Following Page]




                                           52
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 53 of 55




Dated: January 25, 2022

                                     /s/ William E. Underwood
                                     William E. Underwood, GA Bar No. 401805
                                     Steven F. Casey, Admitted PHV
                                     Kary Bryant Wolfe, Admitted PHV
                                     JONES WALKER LLP
                                     1360 Peachtree Street
                                     Suite 1030
                                     Atlanta, GA 30309
                                     Tel: (770)870-7506
                                     Email: kwolfe@joneswalker.com
                                     Email: wunderwood@joneswalker.com
                                     Email: scasey@joneswalker.com

                                     Christopher L. Yeilding, Admitted PHV
                                     BALCH & BINGHAM LLP
                                     1901 Sixth Avenue North, Suite 1500
                                     Birmingham, AL 35203-4642
                                     Tel: (205)226-8728
                                     Email: cyeilding@balch.com

                                     Theodore M. Grossman, Admitted PHV
                                     JONES DAY
                                     250 Vesey Street
                                     New York, NY 10281
                                     (212) 326-3939
                                     Email: tgrossman@jonesday.com

                                     Jeffrey A. Kaplan, Jr.
                                     JONES DAY
                                     1221 Peachtree Street, N.E., Suite 400
                                     Atlanta, GA 30361
                                     (404) 581-8325
                                     Email: jkaplan@jonesday.com

                                       53
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 54 of 55




                      CERTIFICATE UNDER L.R. 7.1.D.

        Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is a computer document and

was prepared in Times New Roman 14-point font, as mandated in Local Rule 5.1.C.

                                     /s/ William E. Underwood
                                     William E. Underwood, GA Bar No. 401805




                                       54
12784196.1
         Case 4:20-cv-00008-AT Document 724 Filed 01/25/22 Page 55 of 55




                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 25, 2022, I electronically filed the

foregoing DAIKIN AMERICA, INC.’S ANSWER TO FOURTH AMENDED

COMPLAINT with the Clerk of Court by using the CM/ECF system, which has

notified all counsel of record.

                                     /s/ William E. Underwood
                                     William E. Underwood, GA Bar No. 401805




                                       55
12784196.1
